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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Anti-Age Technologies, LLC                   )
                                             )
v.                                           )      Case No. 19-cv-2581
                                             )
THE PARTNERSHIPS and                         )      Judge: Hon. Manish S. Shah
UNINCORPORATED ASSOCIATIONS                  )
IDENTIFIED ON SCHEDULE “A,”                  )
                                             )
                                             )


                                FINAL JUDGMENT ORDER


        This action having been commenced by Plaintiff, Anti-Age Technologies (“Plaintiff”)

against the defendants operating the websites/webstores identified on Schedule “A” to Plaintiff’s

Complaint (collectively, the “Infringing Webstores”), and Plaintiff having moved for entry of

Default and Default Judgment against the defendants not already dismissed, identified in

Appendix “A” (collectively, the “Defaulting Defendants”);

        This Court having entered upon a showing by Plaintiff a temporary restraining order and

preliminary injunction against Defaulting Defendants;

        Plaintiff having properly completed service of process on Defaulting Defendants,

providing notice via e-mail, along with any notice that Defaulting Defendants received from the

ecommerce platforms, hosts, and payment processors, being notice reasonably calculated under

all circumstances to apprise Defaulting Defendants of the pendency of the action and affording

them the opportunity to answer and present their objections; and

        Defaulting Defendants having failed to answer the Complaint or otherwise

plead, and the time for answering the Complaint having expired;
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       THIS COURT HEREBY FINDS that it has personal jurisdiction over Defaulting

Defendants because Defaulting Defendants directly target their business activities toward

consumers in the United States, including Illinois. Specifically, Defaulting Defendants are

reaching out to do business with Illinois residents by operating one or more commercial,

interactive Infringing Websites through which Illinois residents can purchase products bearing

counterfeit versions of INSTANTLY AGELESS trademark, U.S. Reg. No. 4164154.

       The registration is valid, unrevoked, and uncancelled. Defendants use the mark and

display images protected by trademark and copyright on the infringing websites without

Plaintiff’s permission or consent.

       THIS COURT FURTHER FINDS that Defaulting Defendants are liable for willful

federal trademark infringement and counterfeiting (15 U.S.C. § 1114), false designation of origin

(15 U.S.C. § 1125(a)), and violation of the Illinois Uniform Deceptive Trade Practices Act (815

ILCS § 510, et seq.).

       IT IS HEREBY ORDERED that Plaintiff’s Motion for Entry of Default and Default

Judgment is GRANTED in its entirety, that Defaulting Defendants are deemed in default and

that this Final Judgment is entered against Defaulting Defendants.

   IT IS FURTHER ORDERED that

   1. Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

and all persons acting for, with, by, through, under or in active concert with them be permanently

enjoined and restrained from:

    a. using the INSTANTLY AGELESS trademark or any reproductions, counterfeit copies or

       colorable imitations thereof in any manner in connection with the distribution, marketing,

       advertising, offering for sale, or sale of any product that is not a genuine Anti-Age




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   Technologies product or not authorized by Plaintiff to be sold in connection with the

   INSTANTLY AGELESS Trademark;

 b. passing off, inducing, or enabling others to sell or pass off any product as a genuine Anti-

   Age Technologies product or any other product produced by Plaintiff, that is not

   Plaintiff’s or not produced under the authorization, control or supervision of Anti-Age

   Technologies and approved by Plaintiff for sale under the INSTANTLY AGELESS

   Trademark;

 c. committing any acts calculated to cause consumers to believe that Defendants’

   Counterfeit Products are those sold under the authorization, control or supervision of

   Anti-Age Technologies, or are sponsored by, approved by, or otherwise connected with

   Anti-Age Technologies;

 d. further infringing the INSTANTLY AGELESS trademark and damaging Plaintiff’s

   goodwill;

 e. otherwise competing unfairly with Plaintiff in any manner;

 f. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

   storing, distributing, returning, or otherwise disposing of, in any manner, products or

   inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or

   offered for sale, and which bear any of the INSTANTLY AGELESS trademark, or any

   reproductions, counterfeit copies or colorable imitations thereof;

 g. using, linking to, transferring, selling, exercising control over, or otherwise owning or

   operating the infringing webstores, websites, or any other domain name that is being used

   to sell or is the means by which Defendants could continue to sell Counterfeit Products;




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    h. operating and/or hosting infringing webstores, websites and any other domain names

       registered or operated by Defendants that are involved with the distribution, marketing,

       advertising, offering for sale, or sale of any product bearing the INSTANTLY AGELESS

       trademark or any reproductions, counterfeit copies or colorable imitations thereof that is

       not a genuine Anti-Age Technologies product or not authorized by Anti-Age

       Technologies to be sold in connection with the INSTANTLY AGELESS trademark;

    i. registering any additional stores, websites, or domain names that use or incorporate any of

       the INSTANTLY AGELESS trademark; and

    j. using images covered by the PLAINTIFF’s Copyrights or any of PLAINTIFF’s original

       photographs that Anti-Age Technologies uses to advertise the sale of original Anti-Age

       Technologies products.

2. Those in privity with Defaulting Defendants and with actual notice of this Order, including

ecommerce platform providers, such as Alibaba, Ali-Express, Amazon, eBay, Wish, etc., shall

within three (3) business days of receipt of this Order:

    a. disable and cease providing services for any accounts through which Defaulting

       Defendants, in the past, currently or in the future, engage in the sale of goods using the

       INSTANTLY AGELESS Trademarks, including, but not limited to, any accounts

       associated with the Defaulting Defendants listed on Schedule “A” not dismissed from this

       action; and

    b. disable any account linked to Defaulting Defendants, linked to any e-mail addresses used

       by Defaulting Defendants, or linked to any of the Infringing webstores/websites.

    Pursuant to 15 U.S.C. § 1117(c)(1), Plaintiff is awarded statutory damages from each of the

Defaulting Defendants in the amount of Fifty Thousand Dollars (U.S.) and No Cents




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($50,000.00) for using counterfeit INSTANTLY AGELESS Trademarks on products sold

through at least the Infringing webstores/websites. As to each Defaulting Defendant, until such

Defaulting Defendant has paid in full the award of statutory damages against it:

    a. Alibaba, Ali-Express, Amazon, eBay, Wish (collectively the “Platforms”) and PayPal,

        Payoneer, WorldFirst, World First Asia Limited, World First Markets Limited, World

        First USA, Inc., Bill.com, Pingpong, Payeco, Umpay/Union Mobile Pay, Moneygram,

        Western Union and any of their subsidiaries (collectively the “Payment Processors”)

        shall, within two (2) business days of receipt of this Order, permanently restrain and

        enjoin any accounts connected to Defaulting Defendants, Defaulting Defendants’

        Infringing webstores/websites identified in Schedule “A”, except those dismissed, from

        transferring or disposing of any money or other of Defaulting Defendants’ assets.

    b. All monies currently restrained in Defaulting Defendants’ financial accounts, including

       monies held by the Platforms or the Payment Processors are hereby released to Plaintiff

       as partial payment of the above-identified damages, and are ordered to release to Plaintiff

       the amounts from Defaulting Defendants’ Platform or Payment Processor accounts within

       ten (10) business days of receipt of this Order.

    c. Plaintiff shall have the ongoing authority to serve this Order on the Platforms or the

       Payment Processors in the event that any new accounts controlled or operated by

       Defaulting Defendants are identified. Upon receipt of this Order, the Platforms or the

       Payment Processors shall within two (2) business days:

           i. Locate all accounts and funds connected to Defaulting Defendants, Defaulting

             Defendants’ Infringing webstores/websites, including, but not limited to, any

             accounts connected to the information listed in Schedule “A” of the Complaint, the




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             e-mail addresses identified in Exhibit 1 to the Declaration of David Gulbransen, and

             any e-mail addresses provided for Defaulting Defendants by third parties;

           ii. Restrain and enjoin such accounts or funds from transferring or disposing of any

             money or other of Defaulting Defendants’ assets; and

           iii. Release all monies restrained in Defaulting Defendants’ accounts to Plaintiff as

             partial payment of the above-identified damages within ten (10) business days of

             receipt of this Order.

       4. Until Plaintiff has recovered full payment of monies owed to it by any Defaulting

Defendant, Plaintiff shall have the ongoing authority to serve this Order on any banks, savings

and loan associations, payment processors, or other financial institutions (collectively, the

“Financial Service Providers”) in the event that any new financial accounts controlled or

operated by Defaulting Defendants are identified. Upon receipt of this Order, the Financial

Service Providers shall within two (2) business days:

    a. Locate all accounts and funds connected to Defaulting Defendants, Defaulting

       Defendants’ Infringing webstores/websites, including, but not limited to, any accounts

       connected to the information listed in Schedule “A” of the Complaint, the e-mail

       addresses identified in Exhibit 1 to the Declaration of David Gulbransen, and any e-mail

       addresses provided for Defaulting Defendants by third parties;

    b. Restrain and enjoin such accounts or funds from receiving, transferring or disposing of

       any money or other of Defaulting Defendants’ assets; and

    c. Release all monies restrained in Defaulting Defendants’ financial accounts to Plaintiff as

       partial payment of the above-identified damages within ten (10) business days of receipt

       of this Order.




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    5. In the event that Plaintiff identifies any additional webstores, websites, domain names or

financial accounts owned by Defaulting Defendants, Plaintiff may send notice of any

supplemental proceeding to Defaulting Defendants by e-mail at the email addresses identified in

Exhibits 1 to the Declaration of David Gulbransen and any e-mail addresses provided for

Defaulting Defendants by third parties.

    6. There is no reason to delay entry of final judgment as to the Defaulting Defendants. This

is a final judgment.

    7. The bond posted by Plaintiff in the amount of $10,000.00 is hereby ordered released by

the Clerk.


IT IS SO ORDERED.


Dated: August 27, 2019
                                             U.S. District Court Judge Manish S. Shah




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                                             Appendix A

Doe     Store Name                                   Merchant ID
1       MYQYJ Store                                  119032
2       *100% Beautiful Zone* Store                  238826
3       Altnux Makeup Store                          500168
4       Eternal Youth No.1                           533672
5       BalaIa Store                                 801094
6       Elizabeth's Wonder Store                     1043347
7       A season of                                  1079571
8       laigog Store                                 1114351
9       Usa Sex World (100% for you) Store           1133141
10      Shenzhen Feiwen Trading Co. Ltd              1154026
11      YiGanErJing 0 Store                          1190307
12      Eternal Youth                                1194565
13      goji Store                                   1211108
14      Aimee's Chau store                           1266066
15      Wholesale and Trading Co.                    1356001
16      Pinky House Store                            1524540
17      Skin Care Paradise                           1750173
18      High-end skin care shop                      1778369
19      High-end skin care discount store            1810007
20      Wu Geng No.1                                 1828116
21      Bloja go Store                               1832272
22      feiwen Store                                 1950032
23      Wu Geng No.2                                 1954469
24      QINGFANGLI Store                             1980046
25      Okenysofficial Store                         2140205
27      RAEL Store                                   2555004
28      Shop2946095 Store                            2946095
29      TP Makeup Store                              2989018
31      ASY Store                                    3214092
33      YGS Store                                    3257107
34      Fenty beautys Store                          3517027
35      Shop3523017 Store                            3523017
36      Chinese discount shops -2 Store              3628117
37      Shopify Hotsale Makeup Store                 3629144
38      Melao Store                                  3632100
39      MM16 Store                                   3652108



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41   oycosmetic Store                     3890064
42   Shop4027009 Store                    4027009
43   Shop4028005 Store                    4028005
44   Shop4033010 Store                    4033010
45   Brand Cosmetic Store                 4134009
46   Shop4218050 Store                    4218050
47   HEONYIRRY Store                      4381105
48   Shop4415063 Store                    4415063
49   YAN DaiFu Store                      4441017
50   Lilies Store                         4472021
51   AllureBeauty Store                   4475011
54   ekea Store                           4561051
55   RT Store                             4575046
56   Boerduo Make Up Store                4644044
                                          ownerMemberId=234522215&companyId=2437
57   China                                18785
                                          ownerMemberId=234522376&companyId=2437
58   China                                06600
                                          ownerMemberId=234529611&companyId=2436
59   China                                90666
                                          ownerMemberId=234609958&companyId=2437
60   China                                96711
                                          ownerMemberId=234610309&companyId=2439
61   China                                58086
65   Luckygoo                             A2GOF9H3SD0N2L
66   bigfallsfashion                      bigfallsfashion
67   buyeasy-au                           buyeasy-au
68   dongfangyiyun11117                   dongfangyiyun11117
69   e-top01-mall                         e-top01-mall
70   efreefly1917                         efreefly1917
71   fashion.usa                          fashion.usa
72   goodbestwell                         goodbestwell
74   home*delux                           home*delux
75   ighost11                             ighost11
76   intelligent-selling                  intelligent-selling
77   john2013best                         john2013best
78   kathtsing                            kathtsing
79   lifesweetsunny                       lifesweetsunny
80   offerpoweroutlet                     offerpoweroutlet
81   onlinebestproducts                   onlinebestproducts
82   onlinejewelry15                      onlinejewelry15
83   rainbowshop_626                      rainbowshop_626


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85    right-mall                           right-mall
86    sanheshun                            sanheshun
87    sanheshunau2012                      sanheshunau2012
88    shseecommerce17                      shseecommerce17
89    somemore17                           somemore17
90    stitchesandseamsct                   stitchesandseamsct
91    thailand-etc-nsn9                    thailand-etc-nsn9
92    xaboom76                             xaboom76
93    yz-shop                              yz-shop
96    topstarfashionstore                  537a13385aefb070457e792c
98    professionbrandmakeupcompany         539eb0c75aefb01650dda726
99    shenzhenwuytechnology                53e4330946188e225d922454
100   globalsales                          53f494c31f50637dbfb63a66
101   紫仙木阁                                 53f9fe30104dae5b446205ca
102   yangwish                             54718ee95f313f0441f81859
104   fashionforeigntrade                  54a1205effff651ea39fedb4
105   guangzhoujk                          54a94807d630ed7622c8cb84
106   hangzhouflorenceltd                  54ade91ad630ed301b22de38
107   2015beststore                        54c10dbd429a6a6d6075f14b
108   topqualityautopartsstore             54c84bcd16398728d6ec752d
109   1st                                  54edec6b6b8a770d544509e0
110   liuliufashion                        54ffd21dcffbbb28b367bd3c
111   nale                                 551aae2b35bdf81538650fae
112   acetechnologycolimited               553df8c8d57a0156032b5e16
113   naturalbeautyvirginhair              553e138d0b733422f1936f1d
114   jianchen                             5551abdbad897e0c2693635c
115   傅丽                                   55b051a61ee9642ab8f40ef6
116   meaneor                              55b0b3eb25e6f0407440d8e0
119   caitianxing                          5603790f293a5b50a21a8224
120   comeme                               561c6cdde214c31ed80c2ddc
123   yishatechnologycoltd                 56443bfa2a6bdb5c0fb6459b
124   yehua                                5699f53dcde82d6175e4d7e5
125   dtmall                               569b17d1e0800266720e97e3
126   pengdu369                            56a848751a85c30f4a743b44
127   strawberryappleorange                56a8e0d5e555515e4dd568de
129   fashioncasualstore                   56cc23029879a4136244cf54
130   visualbudocoltd                      56d7a8bbdf108f3db7c1818f
131   hxxl                                 56d8ef2d1743bc1699eca0df
132   chenhui                              56dc3f4e8bd26e2bfbd4f513


                                      10
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134   honestbird                               56e2860a13e5da16a7ccd224
136   powerstore                               56e67580e7fa2858541a57e8
137   enioyyourlife                            56ebf8178306e75868a5b907
138   lovelife100                              56fbce245cbb5a55c7d422b1
139   xu                                       5703a62ca4050b592b8349df
140   dkkqa                                    570d0e0efda6256e8cfc7d04
      ritahoney30f7760e01f111e682bc063a14dc
141   88b5                                     570f0ec23a698c14278bad21
142   geluen                                   57408792a00b6d2d2c7db4dc
143   topecommerce                             574e3bd40964475c9ffda347
144   jerrys                                   576ce314b6f2996bb01d72cf
145   北京联动飞天科技有限公司                             5778ab641cdabb74a482f7db
146   beadnumen                                577d0da38aaa62748638dd04
147   littlecutetoystore                       5780f974ea637711823c059a
148   hk3                                      57862c70e8aa8923290b4c14
      sweetqifa956ba450a411e6a1170653c1850
150   2f5                                      57931923629c3832856b610b
151   oktyabrsky                               5795c27a0711b828e2e56493
152   fashionring                              57a48ea5e11b9735d89164f5
154   yoyoo                                    57b07fa2a22e271f93055e7e
155   bestqualityforever2                      57baee68a3ae9a072ccbf776
156   bomobilephoneshop                        57d1352955eebc1019206d02
157   chengang                                 57d6a8badbebee101869011f
159   cnpd                                     57da5d2521dd1f45ceb76285
160   cbigsellers                              57da9e61f8824a469e1ccab0
163   aming                                    57e8ce856066b01314c7c8d0
164   ligoo                                    57e8e323fccbfb46214f3bbd
166   wenzhoueran                              57f34f45cd35c61016fd0f8c
167   facewonderful                            58007f78f1c5235af0299a72
169   xixiyahome                               582ac46c728de61b65aa577b
170   smdamaij                                 582c0175d914f5062c49b33e
171   shiquanshimeifoodstore                   5839a46de88f63034a9035e4
172   ruiluju                                  583bc91dfef4090757026f3e
174   zcl1                                     583efe4628fc331c78729d42
176   fastexpressshop                          58411578728de62d5b53baeb
177   kangkangai                               58453d24f84c004d36efe5e3
178   pankgu_0                                 5846d9b268eb844d5ce951f9
180   lovelyhome2012                           584948d50d44632b8fb9f1a4
181   xyfsus                                   5849805a0299bc695a2b9abf
182   klcc                                     584aafcf85a1874d783aabeb



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183   jiangxiatangtradingcompany                    5856865ef662a54cc12c5c00
186   yujinhua                                      58730c48dfa6bc4d50fb45c4
187   zjsupershop                                   5875c6815414b94d490d8929
188   designyourlifestyle                           5879c2e82f04590cd2868b3c
189   lavitaebella                                  588056c92511f84ca67f7292
190   newoneshop_1                                  58809843066f2f6a046fbab2
191   gouzhenwen                                    5880d734a12b6a6deed80e44
193   boom2017                                      58835cf1401e874cca3ad4c8
194   cysupershop                                   5885b449b0bdbb4d0b990ab5
195   liuzj                                         589d684864e178519f382874
199   wantbuyone                                    58a422100e16e953e1cff4b8
200   zhangguozheng                                 58a54b85bce48d13e47213f2
204   lhwtxnlnn                                     58a910fc87f197503b3ac802
205   shenzhenbomiaocoltd                           58abb7362b2f1450559ec77a
208   yangmiaono1                                   58b42299744a3f50e12304b3
210   innovation123                                 58b537f84e36655059ddd9ba
211   homko                                         58b554373d504e50ed82266e
212   pandadresswill                                58b6210a9b4cdb50646d8908
213   hecoco                                        58b7ac6204e82c5782c249ca
214   poson514                                      58b822684e366518e7c92d74
215   bangyushop163com                              58bc2bbc4ff75b5316ac2f16
218   linliqingstore                                58beb439a9b085504891ff14
219   guoxinglong                                   58bfbce2e237b93f8dc43abc
220   zhangfashioncoltd                             58c3c32df300af5120752f89
221   lipeibeauty                                   58c50f0b6296c7510972d649
222   wangxiaoyuyu                                  58c670fd14befd50e5f69e56
223   zhongshujuan                                  58cbae66f24edf51108d4f2f
224   volutinytechltd                               58ce7d2f474fa35097dfb846
227   wsfwsf                                        58d1068be3830f6bea47e257
228   qzmzw                                         58d11679781e9e534162dbfa
229   jeremy88fish                                  58d288f57586f752ca39233e
230   sammyforshop                                  58d328a0c7b73b7548c8e5da
231   loading                                       58d4888639c21f57b5bcac9b
232   lovewholesale                                 58d4e42623d72b567b312dd2
233   yiwuxiongzhouelectroniccommercelimited        58d50810794a2b5719dd42ab
235   zhanyuelun                                    58d6a11f794a2b6d96f045b5
236   linghaili123                                  58d761ac794a2b6d96f0577d
240   jiajiastore                                   58d8f56874a9fc6e261e99aa
241   lovlygirls                                    58db660cfe9cae6d18fe65c5



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243   happylifelovelife                          58dccf735524825ea0875fe5
244   ruierlif4266ee0162311e781fa024f5b6c4f7a    58de7105f84f0a60baf76d92
245   zqleather                                  58e0d7a55ee73c5349c56592
246   shz789                                     58e1e8a4508b9f75d395c1bd
247   axuxin                                     58e9fe06f40439104b2e7c4b
248   ylyly                                      58eb1a21da46a310422d3c55
249   chenyangwei258                             58eb5f59cca55210465198ca
250   tangmuhui                                  58ecae10d4c64c123d7235dc
251   nanshifuzhuang11                           58f34c154dbc0116fafb7983
252   fengliping                                 58f46c492bb36017022eb6d8
254   liufei945                                  58f4d988410098118b1dfb9a
255   liuyanlin                                  58f5ae0a9a027c7dfe7c05a2
256   zhaofei1                                   58f5cee547b01a7f3e10eb9a
257   xucaihua                                   58f77e259346b2111c15ab12
      hhca120b143c25de11e7856802d39e6c6be
258   0                                          58f8d3b9515cad10f91bec68
259   wangboyi1360                               58f9d377e17bc01197730ae1
261   zhangkaihuan                               5902fc445120862877685936
262   wuhaoxiezi                                 590c32a25d058a2a45ef1d96
263   saxonoutlet                                590d723c71a2f24276b11f6d
264   ketiany                                    5912c596bb573309313bcc72
265   dongxingclothingstore                      5912f6f749ef87762451fc0e
266   qingguochaodian                            591421e151060815daee6fb6
270   catherineroll                              591c665be22b544c1b2bda9d
271   nowhappy                                   591ea66e3d39a13c085b1df3
272   weidisi                                    591eab264d2ede6e521ae537
273   shoppingbus                                5923f7652a17517aad551c17
275   loveincolors                               5927f76b26ac0269ba0cf91a
276   excellentone                               59292ab3ff46146133f5dccc
277   gengyi                                     59299584f1dd6a6cb10e4024
278   chicbeauty                                 592ba093260b8f58bded72bb
279   7space                                     592ba3214a56b661260c2cd5
280   onemorelight                               592e73986a74d2730298ce7b
282   imperialdiamond                            592f0e7d47b41426aa2005ae
283   wls89e9f95c476511e787160219850349c2        59311464fc0f24179d6ace7b
286   bestfruitbasket                            5937c2df25c4f5579e902673
287   guibinstore                                5937dfea0b45714c2dc9a4da
288   linhongstore                               593bf2e2484de979c0e88351
290   zihongstore                                593e9f4de4154f1226b71ab6




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291   vandaacttheroleofingistasted         5940b6263e90ea505d2ad53a
292   siliyamm                             5941fce999003b607e664580
293   donchunstore                         594295d78635f02baeb322b0
294   moderncolor                          5943540b563112389e915053
295   mailzon                              594721dbabea912e18f69282
296   xiatongguo                           5947f55e8b96023daaad2b20
297   laobiaowu                            594b2937fc0f2467963e19ec
299   cdcdcd                               594ded00c250812ea945c218
300   ggse                                 594fc99a53ebe26f95b79724
301   wertyuimkiujo                        595a0c0fc6cee8709517d41b
302   linstarshop                          595a3e042eac11422270da3e
303   mrslixiao                            595b4c59c6cee816f1492665
304   foreverstarstore                     595c49d38a43d268e0707381
305   gxt123                               595ce23cc6cee8410d491f39
306   boomlan                              595d95652eac112555e40ead
307   noretonstore                         5963c079d44a9b7ea4a7db22
308   blackflash                           5964b407e81e8a4f8cbc9512
309   dengfang258                          59675af78263380a1a8183f1
310   zaiyong                              5968b45ad9b425309bad40e7
311   junlingstore                         596b34c74b913a7ad4552493
312   lzzfengzheng                         596b3600e81e8a0f819f9dd6
313   susansstore001                       596e1a5637635d03d0a6c68b
314   bobao33                              59719d7eb771736fbb4dcad9
315   zwwsj                                59732c01e771747a4ac27cd0
316   allyou898                            597857618696be4c95df0dbe
317   chch                                 597ae6a08696be1802d42a7a
318   brisker05                            597b104ceea5c5297ad2ab21
319   wunan1                               597c6d8323827052f4c86922
320   limeizhen                            597d679d30e1f36cf06ce629
321   duansaisai                           597fe3453eb22a7c5640dad9
324   greatgoodshop                        59847b4d776ab936208071e7
325   edelweissbloom                       598818fa50df6170713bc137
326   shiaqbel                             5988315769eced1b5727c060
327   hyjmy                                598847358f545e1c3fd09562
328   cherrycoco                           598ad3103eb22a4e51094fdb
330   hehuiping                            59a796c723827022b67da54e
331   helloautumn                          59aa2c502afd357bf531d678
332   fengfeng147                          59aa793db77173033d540aa6
333   energysun                            59adf8e34b913a0bdaf0d382



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334   sunchao123                           59b298ca30e1f3442bca8bf0
336   surpass01                            59b79c898ee78d403b6efb5a
337   bigrice                              59bbb84f8696be502ddc5687
338   wangyouxin9900                       59bd1023bf25532607c75c63
339   gelaoshi123                          59c4cc028ee78d21a310acc1
340   wjanx                                59c512c99fbc5101c5984faf
343   treesong                             59cba05cb771737b46fdd3fc
344   lfashionstore                        59d337b49d8c6567596966af
346   momopure                             59dc44110ec30f1f4cc1de41
347   loveincorner                         59dcacbf0ec30f65c5c1de14
348   lipstore                             59dcacef3eb22a1b50fec8a1
351   woxiangjingjingjiang                 59f1b25f15da072094e58648
352   jianghuili                           5a083617e650336a2c2c0006
353   fjnlyouth0103                        5a0f977d7b584e2e0d029837
355   sosexyboy                            5a12a9d2ddda8c18af0f06bc
356   w7factory                            5a13d5f98cf0ed50dc838018
358   peeterpop3                           5a258e98dd03295f8aa46524
359   superfastship                        5a279116d1aed27df1528cd1
360   jimmy_home                           5a29052c9fbc5135ead8864a
362   lixiaodanxiaowangpu                  5a29f7fb7ce75c0b6801dcbd
363   dreamships                           5a38d10b12fa1c74b68f096f
364   maoweiwei                            5a40b705149ff8311704b869
365   yenanqiao                            5a4ca6c1169609106f571a08
366   lbh                                  5a50a4605c524453d146328c
367   xianlingla                           5a555f241893c2214bf415b2
368   guobifang                            5a59c74c95ebed6b9c80ea85
369   davidstar                            5a5c4532da6ce653c1f86d2e
370   bluezzz                              5a5c93520f193f4356d61491
371   ljdshop                              5a6970ca7276531341d44ab5
372   a_glancepsl                          5a73d7fc1baafe39175b05be
373   shuaiyetian                          5a74506cc2c892664249ecd4
374   seansjewelry                         5a88587a9c15ff7aa3479bd0
375   fanchange                            5a8e344ae05388421cf95f88
376   weixiulian                           5a925c28a71fbf7744a92619
377   simplehappykitchen                   5a97221e08a2244feb6e044e
378   haoyuge                              5a9789539c15ff0f75b5174a
379   jiemstore                            5a990b8bb9605f57d14f259b
380   coolyard                             5a994edb18d9210fef67d0dc
381   fanziyu                              5a9d1fd3ddf45b2c9a3aa5d9



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382   lynnly                                 5a9d36a1c1d518696493dbb5
384   qi_lai                                 5a9d4427c2c8923bd1568953
385   wuxufeng                               5a9f92ba856edf25039391df
387   bioaoua                                5aa3d539c798174af8d97692
388   hmhminghuihui                          5aa8f6ca54bd090583ff1430
389   niaoer                                 5aad0367c3911a330d2a477f
390   xalfashionstore                        5aae5d36c9894970cc552c72
391   fashiongegedeal                        5aaf979947a0e71e7efd87e2
392   vanmay                                 5ab0d18ec989494d15e9fe8e
393   erjiededian                            5ab11c139bda4e5973cd04dd
394   jsjjewelry                             5ab3500847a0e73f94e9daed
397   yuyangtu                               5ab9f0b9b125ab36954b13eb
398   grassfeeling                           5abdff46ea8764617ca4cd61
399   jin263                                 5abf262167d25c19883c0f96
400   todaydealmarket                        5ac07bd2ea8764436e1d7758
401   xccone                                 5ac0aaaddb5f1f1943aa0028
402   chenyshop                              5ac19aba47a0e773eb5013eb
403   dealseller                             5ac1c4adabef957d413a3acf
404   majie_best                             5ac1d723b125ab7f42577f27
405   thebluexinfurniture                    5ac1e1461c256d39cf5189d0
406   weiweifuzhuang1                        5ac5dfadc3911a4e16d0bd0c
407   nbmairuike                             5ac6d5a20e63fa39f67cbcbb
408   bnnmdxsw                               5ac739449c15ff4f58b6a0ef
409   menruixx                               5ac7556870cf6978c3d24b39
410   cloudwestchildrensclothingstore        5ac888d86be8737e6bece64b
412   jiaoshangmao                           5aca006aa71fbf3047ff06f1
413   naoyckity                              5acb152de053887a51dc84cc
414   fsgars                                 5acb1852ea87647175999366
415   wdt888                                 5acb2f09a6bf7a31e6cbdbd6
416   hfuiwheihuiwe                          5acb35790e63fa386dc5fcc2
418   xieweixing                             5acd9b9b823a3e70d6259b3b
419   baybaybjj                              5acda3f175599a4e3df6abca
420   littlelover                            5acdf6d8db5f1f74e550bf41
421   xyavese2t                              5acf14afe053883f35f602fc
422   sesbfgffsd                             5acf1548ddf45b7fcee6bac1
423   qranhsuiy                              5ad05937abef957a3689e78b
425   ckaiyanh                               5ad05c8c2c495677fdea1a73
426   znancq                                 5ad087ac2fbbdc07f38929de
428   zengjing001                            5ad69c264215957b43166036



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429   gtxcbt5327                           5ad6fd072fbbdc0d8e85f0ef
430   zhoujin1                             5ad736db0e63fa2cf33164da
431   maxingping                           5ad99770ea87646a5d22eadd
432   soonjust666                          5ae08bb99722330cdf254693
433   zevni                                5ae3eb0cc3911a13f55f6f59
434   zhaoxuejiao                          5ae3f6a015511a7925480cb8
437   tisenglong                           5aed2a68f0b75f1eaebd6200
439   crossbordershoppingmall              5af01a54f0b75f6e4ebd6b49
440   brotherpiao                          5af044e27824ca31a5395687
441   amwwxf2011                           5af23e5b28c4d064b32eec5f
442   ruiedf                               5af3f0b78699ce2384dd87e3
443   chengxiaocun                         5af6bb6c7824ca32e4417e4a
444   luckymapleworld                      5af703997824ca4c02417e57
445   dreamthatpossible                    5af704ec7824ca4cf5417d82
446   baoteysahgdwa                        5af914ce4bd02e6dc8cc5b0d
447   alixx                                5af95daa2a8b52159c53fd3f
448   kyhope                               5af962f98699ce3102dd5979
449   dingshujuan299                       5af98fbc5ccdca33612e2779
450   bigshopforevertx                     5afa3e758699ce6cb2553f9e
451   lifanglan                            5afacd9c80775a2fe01bee0c
452   leetwo                               5afea722f853f41869efe8fc
453   uusquare                             5b0270be56314a1436a7d147
455   dfgdfgaefa                           5b0b96c501287547c776ed45
456   laceyhuan                            5b139505c258695fb6a9043b
457   zhanxingyi                           5b18a84ad1c3603b7e3cfe3a
458   originalitychianstyle                5b19069deae8b415a2c6d959
459   therang                              5b1a326443b3b6265b7b6f1a
461   senzhi                               5b1cd1aadaac4549b9eb93c7
462   alicestore230                        5b1e4992eae8b4208f289e1d
463   chengxiaoling                        5b1e74c97752c8211b86e4b3
465   zujian                               5b23c9dd2b0410169865ac2b
466   karlfly                              5b249a5243b3b659c840d7c0
467   wyxddpwxh                            5b2710e8c3ea5d172f315d7d
469   gjkhjfg                              5b288a247752c84a21c77e25
470   fumingyuguan                         5b29f720eae8b437c634dc74
471   yangmeishuxiahong                    5b29fca243b3b6667402d96f
472   violin                               5b2b256f2b0410799b99038a
473   niexi                                5b2b5ad96119345d460244b8
474   fewtlink                             5b2b64f37752c832047ce218



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475   hhhqingwenshop                       5b2db9efe8cf961bed3b1bae
476   hulefu1478                           5b2f0bc92b04100dd71685f0
477   huangpeili                           5b2f1699eae8b4565f3db32b
478   llyyhhddddpp                         5b3039a939182b135a530169
480   xiangxiaoqing                        5b31ab09b5de3c1e451d0ff6
482   dengyanqin                           5b3203d3eae8b42f768f37b7
483   xufang001                            5b320667337afb6d862ca949
484   chengziag                            5b32ee68c6025e63c1c25e7b
486   welcometomyplace                     5b34b01348fca92611380c3a
487   linlinh5                             5b359ea2c01c421ce3525411
488   xiaotiangushi                        5b35cf77ab96892cbb747204
489   yangshan6998                         5b38b74f48fca90a78981854
490   pwc                                  5b38c35bb023f644ef295664
491   abmxx                                5b398cafc154291bcb573757
492   zhenxinaiwofushi                     5b39bf0838e2642c1209cec0
493   ljiayan                              5b39d53138e2642c120a7ee4
494   gavelover                            5b3ad8e2d7d1565b1d3b0e8c
495   liuyanyingying                       5b3b103116e62f28cdba8484
496   angelgirlcity                        5b3b36f23cb636243b7e4749
497   xxllddll                             5b3b3bf7c23b811fd3e5f169
498   qingyigsj                            5b3c3a0a19c76b20c91ba2ef
499   lxiaoyongliu                         5b3c79c8829f9f136c4e91fd
500   fangtiannvzhuang                     5b3c9becce10452cf035d49e
501   xianzhli688                          5b3ee0cb6d6a141c25c36aa1
503   thescentoflavender                   5b414472dca7f41fa2f0dd4d
504   liuyfzahuopu                         5b4447559de046295951610f
506   liguie                               5b46fe165bfb222b5a7a449e
507   xianingije                           5b498d1e49c8e64de9c36403
508   tutuhandicraftstore                  5b4c2169b04323778b0ba5c5
509   threepigyunyingtong                  5b4c364576cbe719c7d49719
510   likunyu                              5b4efd1d0fa3694535c474c4
511   dengchenglong01                      5b52d9256f892b7f9c9c75a6
512   wentaowu                             5b52e60fb419d53fa7415b09
513   fanghomefitnessequipmentstore        5b54102b4543f458dfdf6b6c
514   ciwi                                 5b554cb0b56d0549969b3137
516   yifenyan                             5b59347ae5da0626b4dcc42c
517   chenmeifang                          5b61ab1fd90f993069cd46fc
518   smallbridgemapleleaf                 5b6a8a8f74c09735726ca1a9
519   wujiantong                           5b6aeb73dd0d904bcaebad28



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521   wjcshop                              5b6d38a9dd0e313c98466282
522   shieh                                5b6d4a47838d931212590a73
523   liugoog666                           5b6fecbcdd0e317a3c072742
524   xiapipi                              5b714e7fe1130e22db689ff4
525   huangweijie                          5b76e9ae61fa7e15569f5451
526   stoneforest                          5b7964c9ba97fb061a707157
527   wisezwbuy                            5b7a6e73559dbd6ac65597c6
528   chouwbuy                             5b7d35b3878a4d2c95988721
529   funkyshieh                           5b81130a191f9231ac4466d2
531   kamikuang                            5b92346aec02bd1618959001
532   ruoxi20101017                        5b9609741edcac40863e8185
533   duomeietwj                           5b9758d295645715df8e8130
534   shundezoren                          5b989d5fc60dba18f67f0fc8
535   xchegg                               5b98da80497e002862be20d0
536   huanghaiboyinchengli                 5b9c8dead357524f438d57f6
537   proudpul                             5b9f0484f96ce91805721de0




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